           Case 2:22-cv-00367-CCW Document 26-2 Filed 08/22/22 Page 1 of 3


From:              Patricia ray
To:                Mercier, Judith M (ORL - X25151)
Cc:                ebmatters; Yoon, Eric (PHL - X49537)
Subject:           Re: eBay- Liu v. Foujoy et al - Preliminary Injunction Order
Date:              Friday, July 8, 2022 2:20:03 PM


[External email]
Dear Counsel
Schedule B is irrelevant. It is a summary taken from the complaint and our research. All of
those companies on schedule B are also on Schduke A
Thank you
Patricia


Sent from Yahoo Mail for iPhone


On Friday, July 8, 2022, 10:14 AM, Mercier, Judith M (ORL - X25151)
<Judy.Mercier@hklaw.com> wrote:

       Patricia,



       The Order only refers to Schedule A, not Schedule B. If you get the Order
       amended to include Schedule B, then eBay can comply.



       Judy



       Judith Mercier | Holland & Knight
       Partner
       Holland & Knight LLP
       200 South Orange Avenue, Suite 2600 | Orlando, Florida 32801
       Phone 407.244.5151 | Fax 407.244.5288
       judy.mercier@hklaw.com | www.hklaw.com
       ________________________________________________
       Add to address book | View professional biography




       From: Patricia ray <raypatricia@yahoo.com>
       Sent: Friday, July 8, 2022 11:20 AM
       To: Mercier, Judith M (ORL - X25151) <Judy.Mercier@hklaw.com>
       Cc: ebmatters <ebmatters@hklaw.com>; Yoon, Eric (PHL - X49537)
       <Eric.Yoon@hklaw.com>
       Subject: Re: eBay- Liu v. Foujoy et al - Preliminary Injunction Order


                                                         Exhibit 2
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[External email]

Dear Judy

Thank you for your email. Schedule B listings are already included in the
complaint. It was a list of infringing entities from the complaint the we had
located as sellers on eBay — provided for your convenience

Accordingly please take the steps directed in the Judge’s order to end those
listings



I may be reached at phone number 2159086810 for further explanations



Best Regards

Patricia Ray


Sent from Yahoo Mail for iPhone

On Friday, July 8, 2022, 8:11 AM, Mercier, Judith M (ORL - X25151)
<Judy.Mercier@hklaw.com> wrote:

      Patricia,

      This firm represents eBay Inc. and I’m writing to you about the letter
      along with Schedule and Schedule B that you sent to eBay along with
      a copy of the Preliminary Injunction Order in the above referenced
      action. We note that Schedule B is not part of the Court’s Order.

      In order for eBay to end listings or action any accounts, you can
      either (1) use eBay’s VeRO
      (https://www.ebay.com/sellercenter/ebay-for-business/verified-rights-
      owner-program) and file NOCIs (Notices of Claimed Infringement)
      with the eBay listings you identified in Schedule B to end the listings,
      or (2) you can amend your filings to include the eBay listings from
      Schedule B so there is a Court order covering those listings.

      Please let us know which option you will pursue. If you would like
      to discuss on a call, please let me know.

      Judy


      Judith Mercier | Holland & Knight


                                    Exhibit 2
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                                       Exhibit 2
